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 5 Attorneys for:
   WILLIAM BOHAC
 6

 7                                 IN THE UNITED STATES DISTRICT COURT

 8                                    EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             CASE NO. 11-CRS-0323-JAM

11                                   Plaintiff,            STIPULATION AND ORDER RESETTING
                                                           BRIEFING SCHEDULE AND J&S TO
12                           v.

13   WILLIAM BOHAC,
                                     Defendant.
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16                                                STIPULATION

17          1.      It is hereby stipulated by and between Assistant United States Attorney JARED DOLAN,

18 Counsel for Plaintiff, and Attorney Dina L. Santos, Counsel for Defendant WILLIAM BOHAC, that the

19 current date scheduled for September 9, 2014, be vacated and the matter be continued to this Court’s

20 criminal calendar on November 18, 2014, at 9:30 a.m. for judgment and sentencing.

21          It is further stipulated that the briefing schedule be reset as follows:

22          Judgment and Sentencing Date:                   November 18, 2014

23          Reply or Statement of non-opposition:           October 28, 2014

24          Formal Objections:                              October 14, 2014

25          Informal Objections:                            September 30, 2014

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27          IT IS SO STIPULATED.

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      Stip. & [Proposed] Order Continuing J&S              1
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 1 Dated: September 9, 2014                           BENJAMIN B. WAGNER
                                                      United States Attorney
 2

 3                                                    /s/ Jared Dolan
                                                      JARED DOLAN
 4                                                    Assistant United States Attorney

 5
     Dated: September 9, 2014                         /s/ Dina L. Santos
 6                                                    DINA SANTOS, ESQ.
                                                      Attorney for William Bohac
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14                                              ORDER

15          IT IS SO FOUND AND ORDERED this 8th day of September, 2014

16                                                    /s/ John A. Mendez

17
                                                      HON. JOHN A. MENDEZ
18                                                    UNITED STATES DISTRICT JUDGE

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      Stip. & [Proposed] Order Continuing J&S     2
